        Case:17-11810-MER Doc#:10 Filed:03/11/17                              Entered:03/11/17 22:30:39 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Mar 09, 2017
                                      Form ID: pdf906                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 11, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 11, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 9, 2017 at the address(es) listed below:
              Michael J. Watton   on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman    mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 3
Case:17-11810-MER Doc#:10 Filed:03/11/17                         Entered:03/11/17 22:30:39 Page2 of 2



                                          United States Bankruptcy Court
                                           For the District of Colorado

       In re:                                              )
       -XGLWK-HDQ6FKQHLGHU                               )                        Bankruptcy Case No. 0(5
                                                           )                                   Chapter 
                                                           )
       Debtor(s).                                          )

                       DEFICIENCY NOTICE: DOCUMENTS DUE                      

   The following missing documents are required for your case:
       /LVWRI&UHGLWRUV
       6WDWHPHQWRI)LQDQFLDO$IIDLUV
       6XPPDU\RI$VVHWVDQG/LDELOLWLHVDQG&HUWDLQ6WDWLVWLFDO,QIRUPDWLRQ
       $OO6FKHGXOHV$%&'()*+,-
       9HULILFDWLRQRI/LVWRI&UHGLWRUV
       (PSOR\HH,QFRPH5HFRUGV25WKH6WDWHPHQW8QGHU3HQDOW\RI3HUMXU\&RQFHUQLQJ3D\PHQW$GYLFHV
       &KDSWHU6WDWHPHQWRI<RXU&XUUHQW0RQWKO\,QFRPHDQG&DOFXODWLRQRI&RPPLWPHQW3HULRG
       &KDSWHU0HDQV7HVW&DOFXODWLRQ)RUP&
       &KDSWHU3ODQ
       3URRIRIOHJDOO\VXIILFLHQWVHUYLFHDQGQRWLFHRIWKHSODQWKHGHDGOLQHWRILOHREMHFWLRQVWKHUHWRDQGWKH
       KHDULQJRQFRQILUPDWLRQWRWKH867UXVWHH&KDSWHU7UXVWHHDQGDOOFUHGLWRUVDQGSDUWLHVLQLQWHUHVW




   Your case is subject to dismissal if you fail to file the missing documents or otherwise request a
   hearing in writing by the above date.1

   Date:                                        Kenneth S. Gardner, Clerk
                                                        U.S. Customs House, 721 19th Street, Denver, CO 80202

   Create your “List of Creditors” online: http://www.cob.uscourts.gov/credentry/splash_creditor_entry.asp
   The Official Bankruptcy Forms are available at http://www.uscourts.gov/forms/bankruptcy-forms
   The Official Local Bankruptcy Forms are available at http://www.cob.uscourts.gov/forms/all-forms
   For more information on how to file the missing document(s) or information about your case:
           Call: 720-904-7300
           Live Chat Online: www.cob.uscourts.gov


   1
    See 11 U.S.C. § 521 and/or 11 U.S.C. §1116, Federal Rule of Bankruptcy Procedure 1007 and/or 3015, and/or
   Local Bankruptcy Rule 1002-1, 1007-1, 1007-2, 1007-4, 1007-5, 1007-6, and 1007-7.
